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                                    13                            UNITED STATES DISTRICT COURT
                 Phoenix, Arizona




                                    14                                DISTRICT OF ARIZONA
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                                    16
                                          Brian Swontek,                                         Case No.: 2:16-CV-03602-DJH
                                    17
                                    18                             Plaintiff,                    NOTICE OF SETTLEMENT AS
                                          v.                                                     TO DEFENDANTS TRANS
                                    19
                                                                                                 UNION, LLC, RGS FINANCIAL,
                                    20    Experian Information Solutions,                        INC., AND EXPERIAN
                                          Inc.; Equifax Information Services,                    INFORMATION SOLUTIONS,
                                    21
                                          LLC; Trans Union, LLC; RGS                             INC. ONLY
                                    22    Financial, Inc.; Portfolio Recovery
                                    23    Associates, LLC; Continental
                                          Central Credit, Inc.; and Hughes
                                    24    Federal Credit Union,
                                    25
                                                                   Defendants.
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                                           Notice of Settlement                     - 1 of 2 -                       2:16-CV-03602-DJH
                                               Case 2:16-cv-03602-DJH Document 83 Filed 01/03/18 Page 2 of 2



                                    1           NOTICE IS HEREBY GIVEN that the dispute between Plaintiff BRIAN
                                    2    SWONTEK (“Plaintiff”) and Defendants Trans Union, LLC (“Trans Union”), RGS
                                    3    Financial, Inc. (“RGS”), and Experian Information Solutions, Inc. (“Experian”)
                                    4    have been resolved on an individual basis.                     The parties anticipate filing a
                                    5    Stipulation for Dismissal of the Action as to the named Plaintiff’s claims against
                                    6    Trans Union, RGS, and Experian with prejudice, within 60 days. Plaintiff requests
                                    7    that all pending dates and filing requirements as to Trans Union, RGS, and
                                    8    Experian be vacated and that the Court set a deadline on or after March 3, 2018 for
                                    9    filing a dismissal as to Trans Union, RGS, and Experian only.
                                    10
                                    11   Date: January 3, 2018                                   Kazerouni Law Group

                                    12
HYDE & SWIGART




                                    13                                                           By:/s/ Ryan L. McBride
                 Phoenix, Arizona




                                                                                                 Ryan L. McBride
                                    14                                                           Attorney for the Plaintiff
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